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                                                                                                         2017 Aug-08 PM 04:33
                                                                                                         U.S. DISTRICT COURT
                                                                                                             N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


GINA KAY RAY, et al.,                              )
    Plaintiffs,                                    )
                                                   )
v.                                                 )       Case No.: 2:12-02819-RDP
                                                   )
JUDICIAL CORRECTION                                )
SERVICES, INC., et al.,                            )
    Defendants.                                    )


                                             APPENDIX B

Sch. No.     Schedule Title                  Page No.1        Redactions
             CCS Schedules
3.5          Capitalization                  05-08            Units of Equity Interest in CCS Group
                                                              Holdings, LLC.
3.6          Financial Statements            09-108           Information and monetary amounts related to
                                                              GEO Care Holdings, LLC and the purchase of
                                                              Conmed. Monetary amounts, number of
                                                              shares, per stock unit in financial statements.
3.9          Debt                            111-115          Debt balances, performance bond amounts,
                                                              letter of credit amounts, and LOC Issuer
                                                              amounts.
3.12.6       Information Security & 123                       Information regarding potential HIPPA
             Privacy                                          violations at a Florida healthcare facility.
3.19         Customers and Suppliers 143-144                  Revenue generated and expenses related to
                                                              customers and suppliers.
3.21         Litigation; Government          146-147          Information relating to potential loss of each
             Orders                                           category and names of individuals with
                                                              Workers Compensation Claims relating to
                                                              GEO Care, LLC.
3.22         Insurance                       148-158          Premium amounts and information related to
                                                              limits, deductible and retention information in
                                                              charts, sum insured, and limits of liability.
4.1.2        Operation of Business           159              Amount of tax distributions to LLC members,
                                                              amount of expenses for Audax and Frazier,
1
  This bates range is based on the documents provided to Judge Cornelius on July 18, 2017, for in camera review
labeled “Unredacted 2014 Securities Exchange Agreement Schedules 0001-0345.
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                                                    and Monitoring fees.
            CHCC Schedules
3.2         Subsidiaries              166-167       Numbers/units of shares for each entity.
3.5         Capitalization            169-172       The amounts identified under the “Number of
                                                    Units” column and “Outstanding” column on
                                                    pp. 171-172.
3.6.1       Financial Statements      173-251       Dollar amount information in the balance
                                                    sheets and summaries of the financial
                                                    statements. Dollar amounts related to
                                                    Correctional Healthcare Holding Company,
                                                    Inc. in balance sheets.
3.7         Absence of Undisclosed 252-254          Information in the chart on pp. 253-254 under
            Liabilities                             the Number of Shares column, Number of
                                                    Shares Vested column, and Number of Shares
                                                    Outstanding column.
                                                    The amounts in the “Total Severance
                                                    Obligation” column and “Balance Remaining
                                                    as of June 10, 2014” column.
3.8         Absence   of     Certain 255-257        The amounts and information in the
            Developments                            “Settlement Amounts” column under No. 7 on
                                                    pp. 256-257.
3.9         Debt                      258-265       The amount in the “Principal Amount as of
                                                    May 31, 2014” column of the chart under No.
                                                    1 on p. 258.
                                                    The amounts in the “Total Severance
                                                    Obligation” column and “Balance Remaining
                                                    as of May 23, 2014” column under No. 9 at p.
                                                    260.
                                                    Surety bonds monetary amount at p. 259.
                                                    The information under each state on the
                                                    Surety Report (by State/ Obligee) pp. 261-
                                                    265.
3.14        Tax Matters               281-282       Information contained in No. 2 related to
                                                    PNA, information contained in No. 3 related
                                                    to contracts with Colorado.
                                                    Monetary amount regarding net operating
                                                    losses for nonparties at p. 281.
3.15.10     Severance                 287           The amounts in the “Total Severance
                                                    Obligation” column and “Balance Remaining
                                                    as of May 23, 2014” column.
3.19        Customers and Suppliers   296-297       Information regarding the revenue and amount
                                                    spent for customers and suppliers.
3.21        Litigation                300-336       The      amount     of      potential workers
                                                    compensation claims on p. 300.
                                                    The information and amounts in the Claim
                                                    Number” column, “Indemnity Reserve”

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                                                    column,     “Expense    Reserve”      column,
                                                    “Indemnity Paid” column, “Expense Paid”
                                                    column and “Total Incurred” column on pp.
                                                    301-330.
                                                    The information above the charts on pp. 331-
                                                    336 regarding the amount of the active claims
                                                    in 2011-2014.
3.22          Insurance               337-339       The amounts in the Premium, SIR, Deductible
                                                    and limits columns on pp. 338-339.
4.1.2         Operation of Business   340-341       Information regarding the anticipated contract
                                                    with GEO Group on the chart at (b)(iii)(1.)
                                                    regarding the amounts under the “Base
                                                    Salary” column on p. 340-341.
                                                    The amount owed by PNA from the escrow
                                                    account under (d)(1).




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